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              Exhibit 12
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From: Kathryn Guyton <GuytonK@iarc.fr>
Date: January 10, 2015 11:59:21 AM EST
To: "blairkansas@aol.com" <blairkansas@aol.com>
Subject: Re: Comments on the Glyphosate Draft

Thanks, Aaron!
Kate

Envoyé de mon iPhone
On 10 Jan 2015, at 15:54, "blairkansas@aol.com" <blairkansas@aol.com> wrote:

Kate,

Attached is the draft on glyphosate with some suggested wording changes that could be shared with the
author.

I have also complete the form for the review and submitted it to IOPS.

Aaron
<GlyphosateDraft.doc>

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